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    In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 19-248V
                                         UNPUBLISHED


    RO ROHLFS,                                                 Chief Special Master Corcoran

                         Petitioner,
    v.                                                         Filed: October 19, 2021

    SECRETARY OF HEALTH AND                                    Special Processing Unit (SPU); Joint
    HUMAN SERVICES,                                            Stipulation on Damages; Influenza
                                                               (Flu); Shoulder Injury Related to
                        Respondent.                            Vaccine Administration (SIRVA).


Leah VaSahnja Durant, Law Offices of Leah V. Durant, PLLC, Washington, DC, for
Petitioner.

Ryan Daniel Pyles, U.S. Department of Justice, Washington, DC, for Respondent.

                               DECISION ON JOINT STIPULATION1

      On February 13, 2019, Ro Rohlfs filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that he suffered a shoulder injury related to vaccine
administration (“SIRVA”) causally related to her receipt of the influenza (“flu”) vaccine on
September 13, 2016. Petition at 1.

      On October 19, 2021, the parties filed the attached joint stipulation, which states
that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as my decision awarding damages, on the terms set forth therein.



1
  Because this unpublished opinion contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the opinion will be available to anyone with access to the internet.
In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or
other information, the disclosure of which would constitute an unwarranted invasion of privacy. If, upon
review, I agree that the identified material fits within this definition, I will redact such material from public
access.

2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

            •   A lump sum payment of $1,175.99, representing compensation for
                satisfaction of a State of Wisconsin Medicaid lien, payable jointly to
                Petitioner and:

                                               The Rawlings Company
                                                 ATTN: Karen Powell
                                                   P.O. Box 2000
                                                La Grange, KY 40031

                Petitioner agrees to endorse this payment to The Rawlings Company;

            •   A lump sum payment of $193.70, representing compensation for
                satisfaction of a State of Wisconsin Medicaid lien, payable jointly to
                Petitioner and:

                                                State of Wisconsin
                                           Department of Health Services
                                              5615 High Point Drive
                                                 Irving, TX 75038

                Petitioner agrees to endorse this payment to the State; and

            •   A lump sum of $105,000.00 in the form of a check payable to Petitioner.

       These amounts represent compensation for all items of damages that would be
available under Section 15(a). Stipulation at ¶ 8.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the Clerk of the Court is directed
to enter judgment in accordance with this decision.3

        IT IS SO ORDERED.
                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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                  THE UNITED ST ATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS


RO ROHLFS,

                        Petitioner,

v.                                                       No. 19-248V
                                                         Chief Special Master Brian H. Corcoran
SECRETARY OF HEALTH AND                                  ECF
HUMAN SERVICES,

                        Respondent.



                                            STIPULATION

The parties hereby stipulate to the following matters:

       1. Ro Rohlfs ("petitioner") filed a petition for vaccine compensation under the National

Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-10 to -34 (the "Vaccine Program").

The petition seeks compensation for injuries allegedly related to petitioner's receipt of an

influenza ("flu") vaccine, which vaccine is contained in the Vaccine Injury Table (the "Table"),

42 C.F.R. § 100.3(a).

       2. Petitioner received a flu vaccine on or about September 13, 2016, in her right arm.

       3. The vaccine was administered within the United States.

       4. Petitioner alleges that she sustained a right-sided shoulder injury related to vaccine

administration ("SIRVA") within the time period set forth in the Table. She further alleges that

she experienced residual effects of this injury for more than six months.

       5. Petitioner represents that there has been no prior award or settlement of a civil action

for damages as a result of her condition.
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       6. Respondent denies that petitioner sustained a Table SIRVA within the timeframe set

forth in the Table; and denies that the flu immunization caused or significantly aggravated

petitioner's alleged shoulder injury and/or any other injury.

       7. Maintaining their above-stated positions, the parties nevertheless now agree that the

issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

       8. As soon as practicable after an entry of judgment reflecting a decision consistent with

the terms of this Stipulation, and after petitioner has filed an election to receive compensation

pursuant to 42 U.S.C. § 300aa-21 (a)( 1), the Secretary of Health and Human Services will issue

the following vaccine compensation payments:

       a. A lump sum payment of $1,175.99, representing compensation for satisfaction of
       a State of Wisconsin Medicaid lien, payable jointly to petitioner and

                                     The Rawlings Company
                                       Attn: Karen Powell
                                         P.O. Box2000
                                      La Grange, KY 40031.

       Petitioner agrees to endorse this payment to The Rawlings Company;

       b. A lump sum payment of $193.70, representing compensation for satisfaction of
       a State of Wisconsin Medicaid lien, payable jointly to petitioner and

                                       State of Wisconsin
                                  Department of Health Services
                                     5615 High Point Drive
                                       Irving, TX 75038.

       Petitioner agrees to endorse this payment to the State; and

       c. A lump sum of$105,000.00 in the form of a check payable to petitioner. This amount
       represents all remaining compensation for all damages that would be available under 42
       U.S.C. § 300aa-15(a) for injuries allegedly related to petitioner's receipt of the flu
       vaccine.




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        9. As soon as practicable after the entry of judgment on entitlement in this case, and after

petitioner has filed both a proper and timely election to receive compensation pursuant to 42

U.S.C. § 300aa-2 l (a)( I), and an application, the parties will submit to further proceedings before

the special master to award reasonable attorneys' fees and costs incurred in proceeding upon this

petition.

        10. Petitioner and her attorney represent that they have identified to respondent all

known sources of payment for items or services for which the Program is not primarily liable

under 42 U.S.C. § 300aa-15(g), including State compensation programs, insurance policies,

Federal or State health benefits programs (other than Title XIX of the Social Security Act (42

U.S.C. § 1396 et seq.)), or entities that provide health services on a pre-paid basis.

        11. Payment made pursuant to paragraph 8 and any amounts awarded pursuant to

paragraph 9 of this Stipulation will be made in accordance with 42 U.S.C. § 300aa-l 5(i), subject

to the availability of sufficient statutory funds.

        12. The parties and their attorneys further agree and stipulate that, except for any award

for attorneys' fees and litigation costs, and past unreimbursable expenses, the money provided

pursuant to this Stipulation will be used solely for the benefit of petitioner as contemplated by a

strict construction of 42 U.S.C. § 300aa-15(a) and (d), and subject to the conditions of 42 U.S.C.

§ 300aa- l 5(g) and (h).

        13. In return for the payments described in paragraphs 8 and 9, petitioner, in her

individual capacity and on behalf of her heirs, executors, administrators, successors and/or

assigns, does forever irrevocably and unconditionally release, acquit and discharge the United

States and the Secretary of Health and Human Services from any and all actions or causes of

action (including agreements, judgments, claims, damages, loss of services, expenses and all



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demands of whatever kind or nature) that have been brought, could have been brought, or could

be timely brought in the Court of Federal Claims, under the National Vaccine Injury

Compensation Program, 42 U.S.C. § 300aa-10 et seq., on account of, or in any way growing out

of, any and all known or unknown, suspected or unsuspected personal injuries to or death of

petitioner resulting from, or alleged to have resulted from, the flu vaccination administered on or

about September 13, 2016, as alleged by petitioner in a petition for vaccine compensation filed

on or about February 13, 2019, in the United States Court of Federal Claims as petition No. 19-

248V.

        14. If petitioner should die prior to entry of judgment, this agreement shall be voidable

upon proper notice to the Court on behalf of either or both of the parties.

        15. If the special master fails to issue a decision in complete conformity with the terms

of this Stipulation or if the Court of Federal Claims fails to enter judgment in conformity with a

decision that is in complete conformity with the terms of this Stipulation, then the parties'

settlement and this Stipulation shall be voidable at the sole discretion of either party.

        16. This Stipulation expresses a full and complete negotiated settlement ofliability and

damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended, except

as otherwise noted in paragraph 9 above. There is absolutely no agreement on the part of the

parties hereto to make any payment or to do any act or thing other than is herein expressly stated

and clearly agreed to. The parties further agree and understand that the award described in this

Stipulation may reflect a compromise of the parties' respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.




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       17. This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the flu vaccine caused petitioner's alleged shoulder

injury and/or any other injury.

       18. All rights and obligations of petitioner hereunder shall apply equally to petitioner's

heirs, executors, administrators, successors, and/or assigns.

                                     END OF STIPULATION
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Respectfully submitted,

PETITIONER:




ATTORNEY OF RECORD FOR                    AUTHORIZED REPRESENTATIVE



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                                          OF THE ATTORNEY GENERAL:


                                          ~~o              ~
                                          HEATHER L. PEARLMAN
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AUTHORIZED REPRESENTATIVE                 ATTORNEY OF RECORD FOR
OF THE SECRETARY OF HEALTH                RESPONDENT:
AND BUMAN SERVICES:
                                          ~ a.AA .b f~
                                          ~ ~~ LR~
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Dated:    loll~Jwz,/

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